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UNITED STATES DISTRICT COURT
DISTRICT Of NEW JERSEY
                                                                                                      n”
                        A            u I Ic
                                                                                 .,   ‘i ;_,     ‘I




      (In the space above enter theflull na,ne(s,) oftheplain            ‘
                                                                 (sd.)       ‘        ..



                                                                                           \ç




                             -   against   -




     Su55 (wn’j                       Qc”                SCC(4                                        COMPLAINT
                                                                                               Jury Trial:es
                                                                                                                  fl     No

                                                                                                           (check one)




Cn the space above enter the full na,neftl of the defendant(s. If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet ofpaper it’ it/i the full list of names. The names
listed iii the above caption itiust be identical to those contained in
Part I. Addresses should not be inchtded here.)

I.          Parties in this complaint:

A.          List your name, address and telephone number. Do the same for any additional plaintif1 named. Attach
            additional sheets ofpaper as necessary.


Plaintiff            Name                              £‘ceSci, A ‘1IjcV
                     Street Address                    I i-( SI)cS %
                     County, City                            çi   S u55 x.1 .W J 40 Th
                     State & Zip Code                   /VJ rsey        O7cCC’
                     TelephoneNumber                     q73- :-i-cc 7C
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B.       List all defendants. You should state the full name ofthe defendants, even ifthat defendant is a government
         agency, an organization, a corporation, or an individual. Include the address where each defendant can be
         served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
         Attach additional sheets of paper as necessary.

DefèndantNo. 1                        Name     c55$               fA.JtJ7
                                      Street Address                        Y’ 14
                                      County, City     S-.Ss
                                      State &ZipCode L’S7                                 OfIa

Defendant No.2                        Name     DO-C’S       e.                   l—Q- ‘O—
                                      Street Address    ‘3                          S   -I-,
                                      County, City     S.i$S €
                                      State &ZipCode        ew                                      O7Y67
DelèndantNo. 3                        Name                        4 ,So.
                                      Street Address              60    a   .‘




                                      County, City     Sí   Sc$                  A/c—
                                      State & Zip Code A/f                                     --




Defendant No.4                        Name
                                      Street Address
                                      County, City
                                      State & Zip Code




II.      Basis for Jurisdiction:

federal courts are courts oflimitedjurisdiction. There are four types of cases that can be heard in federal court: 1)
Federal Question Under 28 U.S.C. § 1331, a case involvingthe United States Constitution or federal laws or treaties
                  -




is a federal question case; 2) Diversity ofCitizenship Under 2$ U.S.C. § 1332, a case in which a citizen ofone
                                                        -




state sues a citizen ofanother state and the amount in damages is more than $75,000 is a diversity ofcitizenship case;
3) U.S. Government Plaintift and 4) U.S. Government Defendant.

A.      What is the basis for federal courtj urisdiction? (check all that apply)
       ‘FederalQuestions                           Diversity ofCitizenship

             U.S. Government Plaintiff        .S. Government Defendant


B.       If the basis forjurisdiction is Federal Question, what federal ConstitutionaL, statutory or treaty right is at
         issue?                  ‘.    UI1lcJ..tt,               i7(    ccdrcA,I               Cw’S     5ci               I
         /4C           k’i*1          dsi’t;/, AD,a jIii—s
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            C,         lfthe basis for jurisdiction is Diversity ofCitizenship, what is the state ofcitizenship ofeach party?

                       Plaintiffs) state(s) ofcitizenship

                       Defendant(s) state(s) o fc itizenship

            III.       Statement of Claim:

            State as briefly as possible the gof your case. Describe how each of the defendants named in the caption ofthis
            complaint is involved in this action, along with the dates and locations ofall relevant events. You may wish to
            include further details such as the names ofother persons involved in the events giving rise to your claims. Do not
            cite any cases or statutes. Ifyou intend to allege a number ofrelated claims, number and set forth each claim in a
            separate paragraph. Attach additional sheets ofpaper as necessary.

            A.         Where did the events giving rise to your claim(s) occur?               Sc. .5 5            Ccv r)        I
                 LiePcytc... Afc/J
                 -




            B.         What date and approximate time did the events giving rise to your claim(s) occur?

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  What
 happened
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  to you?

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                 ‘7J      ,t




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                                 t,c-utc/          TCcg                           4—

  Was
 anyone
  else
             1_ LV CC— A:cj9 1Scc
 noled?




Who else
saw what
happened?
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